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SWORN AFFIDAVIT OF GARRY ARTHUR
IN THE COUNTY OF:

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{am Garry Arthur, a reconstruction investigator with Jackson Police Department, and the facts
that 1 am providing are from my personal knowledge and true. I am competent to make these
statements because they are of my personal knowledge and true. | reside in Hinds County
Mississippi,

|, Due to the nature of the job of reconstruction of accidents and because I am always dealing
with people dying, being dismembered, and also having to tell the families about the deceased
people 1 was diagnosed with PTSD and Depression and the Jackson Police Department is aware
of my condition.

2, JPD has consistently treated me different that black officers including when I was denied a
new lake home vehicle even though the JPD policy is new take home vehicles are to be assigned
by seniority. The take home vehicle T was supposed to be assigned went to another officer with
less seniority than Lhad AND HE WAS-A BLACK OFFICER, Every single year up to and
including this year 2020, when we have potten new vehicles | have been denied a new take home
vehicle and currently there are officers with half my time on that have brand new take home
vehicles which violates the policy of giving take home vehicles to officers with seniority.

3. ‘Lhe City of Jackson moved me to investigations from Precinct 2, a pesition that I never
applied for because they created a accident investigations unit and put them under investigations,
Until then accident investigations was assigned 0 the traffic division but | was never moved to

Traffic Division when | passed accident reconstruction school, | never applied for investigations

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and never wanted to be a part of investigations, but BLACK Officers with the same desires as |
was never forced into a unit that they did not apply for,
4, Since 2010 the City has constantly changed our days off to work special assignments

such as St, Patrick's day parade, safe shop operations around Christmas, or any other assignment
in an attempt to AVOID PAYING US to do the extra work. They would make us take a Friday
off and work Saturday whenever one of these events would occur.

5. To prove the matter | swear that as a part of investigations my schedule has always been
Monday through Friday, cither 7 am to 3 pm and more recently this year 8 am to 4 pm and |
would have callout when it was my turn on the rotation which currently is every other week
because there is only two people quatified in the City of Jackson to work accident reconstruction,
myself and Acting Sergeant Michae! Outland. A lot of the events T would have to work in lieu of
uctive duty’some BLACK OFFICERS would get paid overtime for where it was denied me to
get overtime for those same events, If they did not get enough people to work the event they
would ask off duty patro! officers to work the event for overtime, and again, those were BLACK
OFFICERS..

6 | have been denied the opportunity to make that extra money because they would make
Detective Bureau work those events in lieu of duty. A part of my compensation package for
working for the City in the investigations unit is weekends off and holidays olf with pay.

7. This year in 2020, they haye been forcing myself along with other detectives to work

weekends in lieu of duty at the impound lot, instead of asking us to work for overtime.

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8. Also, the City of Jackson has been taking our holidays-away foremg us to work on holidays
once again by moving our days around to keep from paying us overtime on those days: This
year T was foreed to work on Saturdays at the impound lot from 9 pm to S am, which is not a
shift 1 normally work for no extra pay. I was forced to take a Friday off and work those
Saturdays, then have to be at work again en Monday morning at 8 am.

§ Additionally, there has been two investigators assigned to the unit full time forcing me to be
on call every other week, essentially half the year | have been on call for no extra pay, where on
those weeks, | have to stay in or around the City of Jackson in case I get called out sol am
unable to essentially have a life with my family outside of this job, again without extra
compensation.

10, However, Other units where Black Officers are positioned in their investigators for JPD
only have to hold callout once a month or once every two months because they have more
staifing.

1], Ihave also been denied to attend lurther training CLASSES in my field, I work ina
technical field that is constantly advancing and changing due to improved techniques and just
advanced in motor vehicle technology yet | have NOT attended a single class in my field since
2007, It is recommended that every Accident Reconstructionist attend up to 40 hours or
continued training every year to keep up with advancing technology in the field, The reasons I
have been denied further training is Jack of money and manpower, and because I am a WHITE
POLICE OFFICER, and thats even when I have found free classes to attend the City of

Jackson JPD would not let me attend those classes.
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12. However, my coworker Michael Outland (the other reconstruction investigator with less
time in the field as T have, and whom is a BLACK OFFICER) has been approved to take some
of those ‘classes, the City of Jackson paid for most of those classes even though some he paid for
oul of his own pocket, the fact is he was granted to take the classes and | was denied due to my
race.

13, Currently our unit does not have any of the equipment we need to do our job effectively,
such as a Total station to accurately map and diagram accident scenes, we need a CDR kit to
retrieve crash data from vehicles to effectively reconstruct accidents, This equipment can he
bought with grants from the federa! government yet they have not applied for a grant to my
knowledge or approved ts to get the equipment,

14. Because of this lack of training and lack of equipment I and the unit I work for can noi give
the citizens adequate police investigations in the realm of Accident investigations. Without this
equipment and training some suspects that we possibly could have charged for killing people in
vehicle accidents have not been charged due to lack of equipment and traming because we are
not able lo prove the cases in a court of law.

15, Last, JPD and the The City has also made me file charges on two occasions on peaple for
crimes they did not commit: In 2015, on Thanksgiving day, | had an accident callout at
McDowell Road and Belvedere Drive. A vehicle was traveling cast on McDowell Road and an
intoxicated pedestrian walked out in front of his-vehicle and the pedestrian was killed as.a result.
My investigation determined the driver did not commit a traffic violation-and the only crime he
committed was driving under the influence. I charged him with DUI that night and he was taken

lo jail, Later the family of the deceased pedestrian complained to the administration and | was
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ordered by Commander ‘lyree Jones to-charge the driver with Aggravated Dui according to him
at the command of then Chief Lee Vance. Myself and Sgt. Joe Cotten advised the administration
of the law, and even a MS. Supreme court case that has ruled that an intoxicated driver not at
fault in an accident can not be found guilty of Aggravated Dui, They still forced meto charge
thal person with Aggravated Dui and later the grand jury no billed the charge. Because of the
administrations actions the family of the deceased victim did not receive justice for the death of
their loved one and they forced me to violate a person's civil rights from unjust persecution, This
oceurred again in 2019 with the current administration, In February 2019 | had a callout on
[lighway 80 in which.a lady drove on the wrong side of the road causing a head on collision that
killed the driver of the other vehicle. | determined that she was at fault for the accident but was
not intoxicated and was not speeding, To prove culpable negligence manslaughter you have to
prove basically that a person has committed gross negligence that results in the death of a person
due to their negligence. In simple terms you have to prove they committed at least two traffic
violations which she only committed one and that was driving on the wrong side of the road, 1
was unable to prove how fast she was going due to lack of equipment such as the CDR kit but |
don't believe she was speeding due to the damage of the vehicles and placement of the vehicies.
I spoke with the District Attorney's office about this case and was told that she would need to be
speediny for us to prove charges in court. | advised the family of this that we would be unable to
pursue criminal charges and when they complained to the administration | was told to send the
ease over the DA, The lady was indicted by a Grand Jury but T spoke with the attorney

prosecuting the case and he told me the case does not meet the requirements for prosecution,

Once again, | feel 1 was forced to violate someone's civil rights by charging them with a
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crime they did not commit, I did not get into this business to railroad citizens for crimes
they did not commit, and this is relevant to me in the interest of justice, someone from the
federal investigation agency should look into this administration and certainly into the
Jackson Police Department.

16. The City of Jackson has treated me so indifferently because I will not change reports in the
interest of them and their friends. It is my understanding that Chief James Davis has given his
cell phone numbers out to some citizens whom are expecting to received or has received
differential treatment. That makes investigators job hard, because we are to investigate the

matter regardless of their relationship with the chief of police or the mayor for that matter.

17. Now since I have:not gone alone with the usual the City of Jackson is suppese to put out an
opening in the departments for all officers to see and consider if they wish to apply, those
officers are suppose to apply for the opening and interview for the same opening. I have never
applied or interviewed for Investigations, not once in my whole career yet T have been moved
twicé to investigations against my will. Since being moved to investigations again in 2018 1
have been denied and overlooked for assigned vehicles by policy, | have constantly had my
schedule changed and days off changed with very little to no notice, | have been forced to work
extra assignments for no additional pay, 1 am forced to work assignments that are not part of my
job description as an Accident Investigator and of which | might not have the training to
effectively work is forced upon me, No one in patrol is asked to work these assignments and if
they are they get paid overtime for working the assignments. | am constantly forced to work

some Investigations as extra assignments for no additional pay while this administration’s likes
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and friends whom are Black Officers gets to work extra assignments for overtime, this is simply
not fair to meas a White man and | should not be treated differently because I am a White man.

18. I swear that | have provided to my attorney the facts as stated herein, and that no one has
coerced me into making this affidavit and that it is purely voluntary, I further know that this
alfidayit will be attached to the filed lawsuit and it is my hope thal the sworn facts here will help

serve in the pursuit of hope, justice and fairness in law as held in the state of Mississippi,

SWORN THIS DATE /2.,/4/2.6

A, % UA MY COMMISSION EXPIRES
ARRY ARTHUR

